         Case 2:04-cr-00177-GMN-NJK             Document 296         Filed 04/20/11      Page 1 of 4



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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                     )
                                                   )
 9                          Plaintiff,             )
                                                   )
10          v.                                     )       2:04-CR-177-GMN (PAL)
                                                   )
11   FLORIN IANCU,                                 )
                                                   )
12                          Defendant.             )

13                            PRELIMINARY ORDER OF FORFEITURE

14         This Court finds that on April 18, 2011, defendant Florin Iancu pled guilty to Count One of

15   a Six-Count Second Superseding Criminal Indictment charging him with Conspiracy to Conduct or

16   Participate in an Enterprise Engaged in a Pattern of Racketeering Activity, in violation of Title 18,

17   United States Code, Section 1962(d) (Docket #267).

18         This Court finds defendant Florin Iancu agreed to the forfeiture of the property set forth in

19   Forfeiture Allegations of the Second Superseding Criminal Indictment (#267) and the Plea

20   Agreement.

21         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

22   has shown the requisite nexus between property set forth in the Forfeiture Allegations of the Second

23   Superseding Criminal Indictment and the Plea Agreement and the offense to which defendant Florin

24   Iancu pled guilty.

25         The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

26   1963(a)(3):
        Case 2:04-cr-00177-GMN-NJK            Document 296       Filed 04/20/11    Page 2 of 4



 1                 (1)   Sony Vaio Desk Top computer (serial number: 284711373004449);

 2                 (2)   Compaq Presario laptop computer (serial number: 6D22JCH371W9);

 3                 (3)   Hewlett Packard laptop computer (serial number: TW13920335);

 4                 (4)   Valiant 671DP laptop computer (serial number: T0140E300850);

 5                 (5)   automated teller machine (“ATM”);

 6                 (6)   Toshiba laptop computer (serial number: 2304502PU);

 7                 (7)   HP Pavilion 753N (serial number: MX23605319);

 8                 (8)   Panasonic palmcorder mini-dv camera, model PV-DV (serial number:

 9                       BN07131008488);

10                 (9)   HP Office Jet printer (serial number: MY16CB-21YP);

11                 (10) VEO Stingray video camera (serial number: 330VB2AX000-771);

12                 (11) Olympus digital camera (serial number: 237238802);

13                 (12) Compaq Contura laptop computer (serial number: 7529HPB23352);

14                 (13) Sony Vaio laptop computer (serial number: 283216303205876);

15                 (14) HP laptop computer (serial number: TW21618644);

16                 (15) Quantum Hard drive (serial number: 652028547895PGZXX);

17                 (16) Sony MVC-CD 300 digital camera (serial number: 341794);

18                 (17) JVC digital video camera DVM-90 (serial number: 09660914);

19                 (18) Sony Digital Photo Printer DPP-EX5 (serial number: 312788);

20                 (19) Brother LX-900 Printer (serial number: US 2543-MOJ35);

21                 (20) Sony LCD Monitor (serial number: 0424888);

22                 (21) Sharp Display Monitor (serial number: 203418267); and

23                 (22) an in personam criminal forfeiture money judgment of $1,000,000.00 in United

24   States Currency.

25        This Court finds the United States of America is now entitled to, and should, reduce the

26   aforementioned property to the possession of the United States of America.
           Case 2:04-cr-00177-GMN-NJK            Document 296         Filed 04/20/11       Page 3 of 4



 1          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 2   United States of America should seize the aforementioned property.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 4   Florin Iancu in the aforementioned property is forfeited and is vested in the United States of America

 5   and shall be safely held by the United States of America until further order of the Court.

 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 7   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 8   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 9   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

10   the name and contact information for the government attorney to be served with the petition,

11   pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 18, United States Code, Section 1963(l)(2).

12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

13   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

15   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

16   following address at the time of filing:

17                  Daniel Hollingsworth
                    Assistant United States Attorney
18                  Michael Humphreys
                    Assistant United States Attorney
19                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
20                  Las Vegas, Nevada 89101.

21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

22   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

23   ...

24   ...

25   ...

26   ...
         Case 2:04-cr-00177-GMN-NJK             Document 296        Filed 04/20/11      Page 4 of 4



 1   following publication of notice of seizure and intent to administratively forfeit the above-described

 2   property.

 3         DATEDthis
           DATED this______
                      20th day
                            dayof
                               of April, 2011.
                                  __________________, 2011.

 4

 5                                                  ________________________________
                                                    Gloria M. Navarro
 6                                                  United States District Judge
                                                  UNITED STATES DISTRICT JUDGE
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